Case 1:23-mj-00067-JFA Document 23 Filed 03/27/23 Page 1 of 2 PageID# 139




                   IN THE UNITED STATES DISTRICT COURt¥or"t'HE
                               EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division       I "?

 UNITED STATES OF AMERICA

                                                  No. l:23-mj-67


 CONOR BRIAN FITZPATRICK,


             Defendant.


                                             ORDER


        Upon the motion of the United States, by and through its attorneys, and the defendant,

Conor Brian Fitzpatrick, by and through his attorney, and finding in accordance with 18 U.S.C. §

3161, for the reasons stated in the Consent Motion to Extend Time for Indictment, that the ends

ofjustice served by granting the extension outweigh the best interests of the public and the

defendant in a speedy trial, it is hereby,

        ORDERED that the time period for indicting the defendant be and is hereby extended up

to and including May 15, 2023. Accordingly, the delay resulting from the pending motion for

extension shall be excluded in computing the time within which an indictment must be filed.




                                                                            fsF
                                                              Leonie M. Brmkeina                  "Mw.
                                                              United States District Judge ^
Date:
        Alexandria, Virginia
Case 1:23-mj-00067-JFA Document 23 Filed 03/27/23 Page 2 of 2 PageID# 140




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